Case 2:04-Cv-02197-.]PI\/|-tmp Document 26 Filed 06/22/05 Page 1 of 2 Page|D 42

Fil.ED BY ,, m__ D.C.

UNITED sTATEs DISTRICT coURT 05 JUN 22 lil*1|1»l 5;
WESTERNDISTRICT OF TENNESS gm R, ns _[.ROUO

WESTERN DIVISION C'~E*’““‘K~ U-S- D’ST- CT

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JOANN MONTGOMERY JUDGMENT IN A CIVIL CASE
VS
AMSOUTH BANK. CASE NO: 04-2197 Ml/P

 

The parties having dismissed this action:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the
Stipulaticn cf Dismissal With Prejudice filed June.;£L, 2005, this
case is dismissed with prejudice with each party to bear its own
costs and attorney’s fees.

APPROVED:

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JON PHIPPS MCCALLA
. UN TED STATES DISTRICT COURT

 

 

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Date Clerk cf Court

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02197 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

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Honorable .1 on McCalla
US DISTRICT COURT

